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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA



 FRANCISCO ROSELL,

 Plaintiff,


 vs.                                             Case No.:
 PENNCRO ASSOCIATES, INC.,

 Defendant.
 _______________________________/


                                           COMPLAINT


         1.    Plaintiff alleges a violation of the Fair Debt Collection Practices Act, 15 U.S.C.

 1692 et seq. (“FDCPA”).

                                           JURISDICTION

         2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, 1337, and pursuant to 15

 U.S.C. § 1692 et seq. (“FDCPA”).

         3.     This action arises out of Defendant’s violation of the FDCPA, and out of the

 invasion of Plaintiff’s personal and financial privacy by this Defendant and its agent in its illegal

 effort to collect a consumer debt from Plaintiff.

         4.     Venue is proper in this District because the act and transaction occurred here,

 Plaintiff resides here, and Defendant transacts business here.




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                                                 PARTIES

         5.      Plaintiff, FRANCISCO ROSELL, is a natural person who resides in the City of

 Homestead, County of Dade, State of Florida, and is a “consumer” as that term is defined by 15

 U.S.C. § 1692a(3).

         6.      Defendant PENNCRO ASSOCIATES, INC., (hereinafter “Defendant Penncro”)

 is a collection agency operating from an address of 95 James Way, Suite 113, Southampton, PA

 18966, and is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

         7.      Defendant Penncro regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

         8.      Defendant Penncro regularly collects or attempts to collect debts for other parties.

         9.      Defendant Penncro is a “debt collector” as defined in the FDCPA.

         10.     Defendant Penncro was acting as a debt collector with respect to the collection of

 Plaintiff’s alleged debt.

                                    FACTUAL ALLEGATIONS

         11.     Plaintiff incurred a financial obligation that was primarily for personal, family or

 household purposes and is therefore a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

         12.     Sometime thereafter, the debt was consigned, placed or otherwise transferred to

 Defendant for collection from this Plaintiff.

         13.     Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.




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                                       COLLECTION CALL

        14.     In or about October, 2010, Defendant Penncro’s collector contacted Plaintiff by

 telephone in an effort to collect this debt, which was a “communication” in an attempt to collect

 a debt as that term is defined by 15 U.S.C. § 1692a(2).

        15.     During this October, 2010 call, Defendant left a voice mail on Plaintiff’s

 answering machine, and failed to identify himself as a debt collector.

                                            SUMMARY

        16.     The above-described collection communication made to Plaintiff by Defendant

 Penncro, and collection employees employed by Defendant Penncro, was made in violation of

 numerous and multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §

 1692(d)6, and 1692e(11).

        17.     During its collection communication, Defendant and the individual debt collector

 employed by Defendant Penncro failed to provide Plaintiff with the notice required by 15 U.S.C.

 § 1692(d) 6, and 1692e(11), amongst others.

        18.     The above-detailed conduct by this Defendant of harassing Plaintiff in an effort to

 collect this debt was a violation of numerous and multiple provisions of the FDCPA, including

 but not limited to all of the above mentioned provisions of the FDCPA.

                                         TRIAL BY JURY

        19.     Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues

 so triable. US Const. amend. 7. Fed.R.Civ.P. 38.




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                                         CAUSES OF ACTION

                                                COUNT 1

                 VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                   15 U.S.C. § 1692 et seq.


           20.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

 as though fully stated herein.

           21.     The foregoing act and omission of the Defendant and its agent constitutes

 numerous and multiple violations of the FDCPA including, but not limited to, each and every

 one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

           22.     As a result of the Defendant’s violations of the FDCPA, Plaintiff is entitled to

 statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

 reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), from the Defendant

 herein.

                                                COUNT 2

                   FAILURE TO DISCLOSE STATUS AS A DEBT COLLECTOR

           23.     Defendant failed to disclose in the telephone message that it is a debt collector in

 violation of 15 U.S.C. 1692e(11).


           WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in favor of

 Plaintiffs and against Defendant for:


 a)    Damages and

 b)    Attorneys’ fees and costs.




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                                              COUNT 3

              FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

        24.     Defendant placed a telephone call to Plaintiff without making meaningful

 disclosure of its identity when it failed to disclose that he was a debt collector, and the purpose of

 Defendant’s communication in the telephone message in violation of 15 U.S.C. 1692d(6).


        WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in favor of

 Plaintiff and against Defendant for:


 A)    Damages and

 B)   Attorneys’ fees and costs.


                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that judgment be entered against the Defendant.


 Dated: November 9, 2010                        Respectfully submitted,


                                                /s Andrew I. Glenn________________________
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